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                  EXHIBIT C
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Reg. No. 5,554,203         X Social Media (FLORIDA LIMITED LIABILITY COMPANY)
                           350 E Crown Point Rd 1060
Registered Sep. 04, 2018   Winter Garden, FLORIDA 34787

                           CLASS 35: Advertising services
Int. Cl.: 35
                           FIRST USE 2-8-2015; IN COMMERCE 3-3-2016
Service Mark
                           THE MARK CONSISTS OF STANDARD CHARACTERS WITHOUT CLAIM TO ANY
Principal Register         PARTICULAR FONT STYLE, SIZE OR COLOR

                           No claim is made to the exclusive right to use the following apart from the mark as shown:
                           "SOCIAL MEDIA"

                           SER. NO. 87-759,272, FILED 01-17-2018
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     REQUIREMENTS TO MAINTAIN YOUR FEDERAL TRADEMARK REGISTRATION
  WARNING: YOUR REGISTRATION WILL BE CANCELLED IF YOU DO NOT FILE THE
         DOCUMENTS BELOW DURING THE SPECIFIED TIME PERIODS.

Requirements in the First Ten Years*
What and When to File:

     First Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) between the 5th and 6th
     years after the registration date. See 15 U.S.C. §§1058, 1141k. If the declaration is accepted, the
     registration will continue in force for the remainder of the ten-year period, calculated from the registration
     date, unless cancelled by an order of the Commissioner for Trademarks or a federal court.

     Second Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) and an Application
     for Renewal between the 9th and 10th years after the registration date.* See 15 U.S.C. §1059.


Requirements in Successive Ten-Year Periods*
What and When to File:

     You must file a Declaration of Use (or Excusable Nonuse) and an Application for Renewal
     between every 9th and 10th-year period, calculated from the registration date.*


Grace Period Filings*

The above documents will be accepted as timely if filed within six months after the deadlines listed above with
the payment of an additional fee.

*ATTENTION MADRID PROTOCOL REGISTRANTS: The holder of an international registration with an
extension of protection to the United States under the Madrid Protocol must timely file the Declarations of Use
(or Excusable Nonuse) referenced above directly with the United States Patent and Trademark Office (USPTO).
The time periods for filing are based on the U.S. registration date (not the international registration date). The
deadlines and grace periods for the Declarations of Use (or Excusable Nonuse) are identical to those for
nationally issued registrations. See 15 U.S.C. §§1058, 1141k. However, owners of international registrations
do not file renewal applications at the USPTO. Instead, the holder must file a renewal of the underlying
international registration at the International Bureau of the World Intellectual Property Organization, under
Article 7 of the Madrid Protocol, before the expiration of each ten-year term of protection, calculated from the
date of the international registration. See 15 U.S.C. §1141j. For more information and renewal forms for the
international registration, see http://www.wipo.int/madrid/en/.

NOTE: Fees and requirements for maintaining registrations are subject to change. Please check the
USPTO website for further information. With the exception of renewal applications for registered
extensions of protection, you can file the registration maintenance documents referenced above online at h
ttp://www.uspto.gov.

NOTE: A courtesy e-mail reminder of USPTO maintenance filing deadlines will be sent to trademark
owners/holders who authorize e-mail communication and maintain a current e-mail address with the
USPTO. To ensure that e-mail is authorized and your address is current, please use the Trademark
Electronic Application System (TEAS) Correspondence Address and Change of Owner Address Forms
available at http://www.uspto.gov.




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                 Mark: X SOCIALMEDIA




  US Serial Number: 87759272                                                        Application Filing Jan. 17, 2018
                                                                                                Date:
     US Registration 5554203                                                       Registration Date: Sep. 04, 2018
           Number:
       Filed as TEAS Yes                                                              Currently TEAS Yes
                Plus:                                                                           Plus:
             Register: Principal
           Mark Type: Service Mark
     TM5 Common Status                                                           LIVE/REGISTRATION/Issued and Active
            Descriptor:
                                                                                 The trademark application has been registered with the Office.


               Status: Registered. The registration date is used to determine when post-registration maintenance documents are due.
         Status Date: Sep. 04, 2018
Publication Date:Jun. 19, 2018

                                                                   Mark Information
          Mark Literal X SOCIALMEDIA
           Elements:
 Standard Character Yes. The mark consists of standard characters without claim to any particular font style, size, or color.
            Claim:
       Mark Drawing 4 - STANDARD CHARACTER MARK
              Type:
          Disclaimer: "SOCIAL MEDIA"

                                                                  Goods and Services
Note:
The following symbols indicate that the registrant/owner has amended the goods/services:
        Brackets [..] indicate deleted goods/services;
        Double parenthesis ((..)) identify any goods/services not claimed in a Section 15 affidavit of incontestability; and
        Asterisks *..* identify additional (new) wording in the goods/services.

                  For: Advertising services
         International 035 - Primary Class                                              U.S Class(es): 100, 101, 102
            Class(es):
        Class Status: ACTIVE
                Basis: 1(a)
            First Use: Feb. 08, 2015                                               Use in Commerce: Mar. 03, 2016

                                                       Basis Information (Case Level)
            Filed Use: Yes                                                             Currently Use: Yes
            Filed ITU: No                                                               Currently ITU: No
            Filed 44D: No                                                               Currently 44E: No
            Filed 44E: No                                                              Currently 66A: No
            Filed 66A: No                                                         Currently No Basis: No
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      Filed No Basis: No

                                               Current Owner(s) Information
          Owner Name: X Social Media
     Owner Address: 4302 Rex Dr
                    Winter Garden, FLORIDA UNITED STATES 34787
   Legal Entity Type: LIMITED LIABILITY COMPANY                          State or Country FLORIDA
                                                                        Where Organized:

                                        Attorney/Correspondence Information
                                                                 Attorney of Record
     Attorney Name: Joshua M. Gerben, Esq.                                Docket Number: 10845-0002
    Attorney Primary jgerben@gerbenlawfirm.com                             Attorney Email Yes
     Email Address:                                                           Authorized:
                                                                     Correspondent
     Correspondent Joshua M. Gerben, Esq.
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                   1050 Connecticut Ave NW, Suite 500
                   Washington, DISTRICT OF COLUMBIA UNITED STATES 20036
   Correspondent e- jgerben@gerbenlawfirm.com filings@gerbenlawfir       Correspondent e- Yes
              mail: m.com                                                 mail Authorized:
                                                        Domestic Representative - Not Found

                                                        Prosecution History
                                                                                                             Proceeding
   Date              Description
                                                                                                             Number
Sep. 25, 2023     TEAS SECTION 8 & 15 RECEIVED
Sep. 14, 2023     TEAS CHANGE OF CORRESPONDENCE RECEIVED
Sep. 14, 2023     ATTORNEY/DOM.REP.REVOKED AND/OR APPOINTED
Sep. 14, 2023     TEAS REVOKE/APP/CHANGE ADDR OF ATTY/DOM REP RECEIVED
Sep. 14, 2023     APPLICANT/CORRESPONDENCE CHANGES (NON-RESPONSIVE) ENTERED
Sep. 14, 2023     TEAS CHANGE OF OWNER ADDRESS RECEIVED
Sep. 04, 2023     COURTESY REMINDER - SEC. 8 (6-YR) E-MAILED
Sep. 04, 2018     REGISTERED-PRINCIPAL REGISTER
Jun. 19, 2018     OFFICIAL GAZETTE PUBLICATION CONFIRMATION E-MAILED
Jun. 19, 2018     PUBLISHED FOR OPPOSITION
May 30, 2018      NOTIFICATION OF NOTICE OF PUBLICATION E-MAILED
May 13, 2018      ASSIGNED TO LIE                                                                          70884
May 03, 2018      APPROVED FOR PUB - PRINCIPAL REGISTER
May 03, 2018      EXAMINER'S AMENDMENT ENTERED                                                             88888
May 03, 2018      NOTIFICATION OF EXAMINERS AMENDMENT E-MAILED                                             6328
May 03, 2018      EXAMINERS AMENDMENT E-MAILED                                                             6328
May 03, 2018      EXAMINERS AMENDMENT -WRITTEN                                                             91167
Apr. 26, 2018     ASSIGNED TO EXAMINER                                                                     91167
Jan. 29, 2018     NEW APPLICATION OFFICE SUPPLIED DATA ENTERED
Jan. 20, 2018     NEW APPLICATION ENTERED

                                          TM Staff and Location Information
                                                             TM Staff Information - None
                                                                     File Location
   Current Location: PUBLICATION AND ISSUE SECTION                       Date in Location: Sep. 04, 2018
